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                            United States District Court
                                      for the
                            Southern District of Florida

   Donald Trump, Linda Cuadros, and )
   American Conservative Union,     )
   Plaintiffs,                      )
                                    ) Civil Action No. 21-22441-Civ-Scola
   v.                               )
                                    )
   Twitter, Inc. and Jack Dorsey,   )
   Defendants.                      )
                       Order Granting Motion to Transfer
         This cause is before the Court upon Defendant Twitter, Inc.’s (“Twitter”)
  motion to transfer to the Northern District of California. (Mot., ECF No. 41.)
  Twitter requests that the Court transfer this action to the Northern District of
  California pursuant to a forum selection clause in Twitter’s Terms of Service.
  (See generally, Mot., ECF No. 41.) Plaintiffs Donald J. Trump, Linda Cuadros,
  American Conservative Union, Rafael Barboza, Dominick Latella, Wayne Allen
  Root, and Naomi Wolf oppose the motion. (Resp. in Opp’n, ECF No. 58.) Twitter
  filed a reply (ECF No. 65), and the Plaintiffs were afforded leave to file a
  surreply. (ECF No. 75.) After careful review of the parties’ arguments, the
  record, and relevant legal authorities, the Court grants Twitter’s Motion. (ECF
  No. 41.)

     1. Background
         This action arises from various actions taken by Twitter affecting the
  Plaintiffs’ use of their Twitter accounts.
         Twitter is a corporation with its principal place of business in San
  Francisco, California. (Am. Compl., ECF No. 21 at ¶ 25.) Twitter operates an
  internet communications platform that allows millions of users to share their
  opinions and follow current events. (Id. at ¶ 2.) Twitter users communicate with
  the public and their followers through posts called “Tweets.” (Id. at ¶ 25.) To
  create a Twitter account, prospective users are required to complete an online
  registration process. (Id. at ¶ 25.) The registration process involves the user’s
  acceptance of Twitter’s User Agreement, which includes its Terms of Service,
  rules, and policies. (Id. at ¶ 37.) Each user is required to assent to the User
  Agreement and acknowledge that by continuing use of Twitter’s services, the
  user agrees to be bound by the current version of its Terms of Service. (Id.) The
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  parties do not dispute that the Plaintiffs accepted Twitter’s Terms of Service
  and rules by assenting to Twitter’s User Agreement and continued use of
  Twitter’s services.
         Since at least September 2009, the User Agreement has stated that “[a]ll
  disputes related to these Terms or Services will be brought solely in the federal
  or state courts located in San Francisco County, California, United States,” and
  that the parties “consent to personal jurisdiction and waive any objection as to
  inconvenient forum.” (2021 Twitter Terms of Service, ECF No. 41–2; 2009–2020
  Twitter Terms of Service, ECF No. 58–1.) The User Agreement exempts
  government officials or agencies using Twitter in their official capacities and
  who are legally unable to accept the forum selection clause. (Id.) By agreeing to
  the terms of the User Agreement, users also agree to abide by Twitter’s rules
  and policies. The rules regulate the content users may post on the platform
  and prohibit violent, inciteful, hateful content and prohibit the spreading of
  misinformation regarding Covid-19. (Id. at ¶ 37.); see also (Carome Decl., ECF
  Nos. 41–3, 41–4, 41–5.) Twitter may enforce these policies by blocking or
  removing specific Tweets that it determines to be in violation of the Rules, by
  temporarily or permanently suspending an account, or by a combination of
  these steps. (Carome Decl., ECF No. 41–5.)
         Trump created his Twitter account in 2009 and used it for several years
  to engage with his followers about politics, celebrities, golf, and business
  interests. (Id. at ¶ 43.) Trump continued using his Twitter account even after
  he was sworn in as the Forty-Fifth President of the United States. (Id. at ¶ 44.)
  On January 7, 2021, Twitter permanently suspended then–President Trump’s
  account for purportedly violating its Rules prohibiting the incitement of
  violence related to the January 6 Capitol attack. (Id. at ¶ 113.) Twitter also
  suspended the accounts of other named Plaintiffs or caused their accounts to
  lose thousands of followers. (Id. at ¶¶ 122, 128, 129, 132, 142, 145, 150, 153.)
         The Plaintiffs initiated this action on July 7, 2021 and filed the operative
  amended complaint on July 27, 2021. (Am. Coml., ECF No. 21.) The Plaintiffs
  allege the following claims: (1) violation of the First Amendment to the United
  States Constitution, (2) seeking a declaratory judgment that Section 230 of the
  Communications Decency Act, 47 U.S.C. § 230 is unconstitutional, and related
  injunctive relief; (3) a claim seeking injunctive relief under the Florida
  Deceptive and Unfair Trade Practices Act (“FDUTPA”), Florida Statutes §
  501.203(8); and (4) a claim seeking damages under FDUTPA, Florida Statutes §
  501.2041. As part of their theory of liability, the Plaintiffs’ claim that Twitter,
  and its owner Defendant Jack Dorsey, succumbed to the coercion efforts of
  Democratic legislators and took actions to censor the Plaintiffs’ Twitter
  accounts based on their conservative beliefs. (Id. at ¶ 51.)
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        On September 1, 2021, Twitter filed the instant motion to transfer to the
  Northern District of California as required by the forum selection clause in
  Twitter’s Terms of Service contained in its User Agreement. (See generally,
  Mot., ECF No. 41.)

     2. Legal Standard
         “[T]he appropriate way to enforce a forum selection clause pointing to a
  state or foreign forum is through the doctrine of forum non conveniens.” Atl.
  Marine Constr. Co. v. U.S. Dist. Court for W. Dist. of Tex., 571 U.S. 49, 60 (2013).
  “28 U.S.C. § 1404(a) is merely a codification of the doctrine of forum non
  conveniens for the subset of cases in which the transferee forum is within the
  federal court system; in such cases, Congress has replaced the traditional
  remedy of outright dismissal with transfer.” Id. Generally, to obtain a transfer
  based on the doctrine of forum non conveniens, a movant must demonstrate
  that: “(1) an adequate alternative forum is available; (2) the public and private
  factors weigh in favor of a transfer; and (3) the plaintiff can reinstate his suit in
  the alternative forum without undue inconvenience or prejudice.” GDG
  Acquisitions, LLC v. Gov't of Belize, 749 F.3d 1024, 1028 (11th Cir. 2014).
         However, this analysis changes dramatically if the agreement between
  the parties contains a valid forum selection clause. Atl. Marine, 571 U.S. at 63.
  Indeed, the existence of a forum selection clause is essentially dispositive in the
  28 U.S.C. § 1404(a) or forum non conveniens analysis. Id. at 62; see also GDG
  Acquisitions, 749 F.3d at 1028 (“an enforceable forum selection clause carries
  near-determinative weight” in the forum non conveniens analysis). “When the
  parties have agreed to a valid forum selection clause, a district court should
  ordinarily transfer the case to the forum specified in that clause. Only under
  extraordinary circumstances unrelated to the convenience of the parties should
  a § 1404(a) motion be denied.” Atl. Marine Constr. Co., 571 U.S. at 62.
         In analyzing the application of a forum selection clause, a court must
  determine whether: (1) the clause is valid; (2) the clause is mandatory or
  permissive; and (3) the claim at issue falls within the scope of the clause.
  See Bahamas Sales Assoc., LLC v. Byers, 701 F.3d 1335, 1340 (11th Cir. 2012)
  (“To determine if a claim falls within the scope of a clause, we look to the
  language of the clause.”); Fla. Polk Cty. v. Prison Health Servs. Inc., 170 F.3d
  1081, 1083 (11th Cir. 1999) (courts must further determine whether clause is
  mandatory or permissive).
         Once established, the existence of a valid forum selection clause
  governing the claims at issue shifts the burden from the party seeking
  dismissal or transfer to the nonmovant to establish that dismissal is improper.
  See Atl. Marine., 571 U.S. at 63; Stiles v. Bankers Healthcare Grp., Inc., 637 F.
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  App’ x 556, 562 (11th Cir. 2016); Pappas v. Kerzner Int’l Bah. Ltd., 585 F. App’x
  962, 967 (11th Cir. 2014). The party seeking to avoid the forum selection
  clause bears a “heavy burden of proof” that the clause should be set
  aside. Carnival Cruise Lines, Inc. v. Shute, 499 U.S. 585, 595 (1991). A court
  evaluating a motion to transfer should “afford no weight to either the plaintiff’s
  selected forum or the parties’ private interests, and [should] ignore the choice-
  of-law rules of the original venue.” Hisey v. Qualtek USA, LLC, 753 F. App’x
  698, 703 (11th Cir. 2018) (citing Atl. Marine, 571 U.S. at 62–65).
        Typically, a plaintiff may seek to overcome this burden by showing that
  the public interest favors the preselected forum. Id. “Public-interest factors may
  include ‘the administrative difficulties flowing from court congestion; the local
  interest in having localized controversies decided at home; [and] the interest in
  having the trial of a diversity case in a forum that is at home with the law.’” Id.
  (quoting Piper Aircraft Co. v. Reyno, 454 U.S. 235, 241 & n.6 (1981)).

     3. Analysis
         Twitter has filed the subject motion to transfer this matter to the
  Northern District of California as required by the mandatory forum selection
  clause accepted by the Plaintiffs when they assented to the User Agreement.
  (See generally, Mot. ECF No. 41.) Twitter also argues that the Plaintiffs’ claims
  stem from Twitter’s application of its Terms of Service, rules, and policies, and
  thus, are within the broad scope of the forum selection clause.
         The Plaintiffs do not dispute that they accepted the terms of the Twitter
  User Agreement. Yet, the Plaintiffs oppose the motion on the grounds that
  Trump was the sitting President at the time his account was suspended and
  thus, the forum selection clause by its very own terms excludes him from the
  forum requirement. (See generally, Resp. in Opp’n, ECF No. 58.) The Plaintiffs
  also argue that the clause is ambiguous and not mandatory, and that the
  public interest weighs in favor of denying transfer.
         In reply, Twitter argues that Trump is not exempt from application of the
  forum selection clause because he has filed this action in his individual
  capacity, seeks reinstatement of his Twitter account for use in his personally
  capacity, and originally assented to Twitter’s User Agreement as an individual.
  (See generally, Reply, ECF No. 65.)
         The Plaintiffs filed a surreply arguing that this Court should decline
  following the holding in Trump v. YouTube, LLC, No. 21-cv-22445-KMM, ECF
  No. 70 at 13 (S.D. Fla. Oct. 6, 2021) (Moore, J.). In that related case, the
  Honorable K. Michael Moore granted YouTube’s motion to transfer because the
  forum selection clause was valid and mandatory, and the plaintiffs, including
  Trump, failed to meet their heavy burden of showing the public interest favors
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  their preferred forum.
         For the reasons stated below, the Court finds that the motion to transfer
  is due to be granted. (ECF No. 41.) First, Trump’s former status as the
  President of the United States does not preclude the application of the forum
  selection clause. Second, the forum selection clause is valid and mandatory.
  Third, the forum selection clause encompasses the Plaintiffs’ claims. And
  fourth, the Plaintiffs have failed to satisfy their heavy burden to show that this
  case should not be transferred.

     A. Trump is not exempted from the application of Twitter’s forum
        selection clause
         The parties agree that from September 2009 through August 2021,
  Twitter’s User Agreement has contained a version of the following forum
  selection clause at issue in this case:

        6. General
        We may revise these Terms from time to time. The changes will not
        be retroactive, and the most current version of the Terms, which
        will always be at twitter.com/tos (https://twitter.com/en/tos), will
        govern our relationship with you. We will try to notify you of
        material revisions, for example via a service notification or an email
        to the email associated with your account. By continuity to access
        or use the Services after those revisions become effective, you agree
        to be bound by the revised Terms.

        The laws of the State of California, excluding its choice of law
        provisions, will govern these Terms and any dispute that arises
        between you and Twitter. All disputes related to these Terms or the
        Services will be brought solely in the federal or state courts located
        in San Francisco County, California, United States, and you
        consent to personal jurisdiction and waive any objection as to
        inconvenient forum.

        If you are a federal, state, or local government entity in the United
        States using the Services in your official capacity and legally
        unable to accept the controlling law, jurisdiction or venue clauses
        above, then those clauses do not apply to you. For such U.S.
        federal government entities, these Terms and any action related
        thereto will be governed by the laws of the United States of America
        (without reference to conflict of laws) and, in the absence of federal
        law and to the extent permitted under federal law, the laws of the
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        State of California (excluding choice of law).

  (2021 Twitter Terms of Service, ECF No. 41–2; 2009–2020 Twitter Terms of
  Service, ECF No. 58–1.) (emphasis added).
         The Plaintiffs argue that Trump is exempted from the forum selection
  clause because he was the sitting President at the time his Twitter account was
  suspended and was legally unable to accept the forum selection clause.
         Even assuming that Trump was using his account in his official capacity,
  Trump has not advanced any legal authority to support his contention that he
  satisfies the second requirement of the exemption: that he is “legally unable to
  accept the controlling law, jurisdiction, or venue clauses. . .” The response in
  opposition cites several regulations to show that Trump was legally prohibited
  from accepting the forum selection clause at issue. (Resp. in Opp’n, ECF No. 58
  at 9.) However, after a careful review of the citations, the Court finds that not
  one prevents Trump for accepting the forum selection clause.
         The Plaintiffs cite to 44 U.S.C. § 2904, which outlines the general
  responsibilities for records management by the Archivist of the United States
  and by the Administrator of General Services. The Court does not find, nor do
  the Plaintiffs cite to, any section of the code that prevents a federal actor from
  accepting a forum selection clause.
         Next, the Plaintiffs argue that 36 C.F.R. § 1220 prevents Trump from
  accepting Twitter’s forum selection clause. Notably, the Plaintiffs fail to point
  the Court to the specific language they rely on. Section 1220 “specifies policies
  for Federal agencies’ records management programs relating to proper records
  creation and maintenance, adequate documentation, and records disposition.”
  36 C.F.R. § 1220.1. Again, the Court is unable to find any authority prohibiting
  Trump from accepting Twitter’s forum selection clause.
         The Plaintiffs also cite to 31 U.S.C. § 1341, which sets forth the
  limitations on expending for federal employees. Section 1341 prohibits federal
  employees from: “(B) involve[ing] either government in a contract or obligation
  for the payment of money before an appropriation is made unless authorized by
  law; . . [or] “ (D) involve[ing] either government in a contract or obligation for
  the payment of money required to be sequestered under section 252 of the
  Balanced Budget and Emergency Deficit Control Act of 1985.” 31 U.S.C. §
  1341. The Plaintiffs have not shown that Twitter’s User Agreement constitutes
  a contractual obligation for the payment of money. After reviewing the different
  versions of the User Agreement’s Terms of Service, the Court finds that the
  contract between the parties is not one for the exchange of money. Lastly, the
  Plaintiffs cite to a regulation governing procurement contracts, which has no
  bearing to the contract at issue in this case. 41 C.F.R. § 1, et seq.
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         Moreover, the Court finds that the Plaintiffs’ reliance on Knight First
  Amend. Inst. at Columbia Univ. v. Trump, 928 F.3d 226, 230 (2d Cir. 2019), cert.
  granted, judgment vacated sub nom. Biden v. Knight First Amend. Inst. At
  Columbia Univ., 141 S. Ct. 1220, 209 L. Ed. 2d 519 (2021), is misplaced. There,
  the Second Circuit held that Trump’s Twitter account was a public forum, such
  that Trump violated the First Amendment by blocking other Twitter users from
  interacting with his account. Knight, 928 F.3d at 237–38. Knight has no
  bearing on the proceedings at hand because it did not consider the
  enforceability of Twitter’s forum selection clause, particularly, whether Trump
  was exempted from its requirements in his capacity as President.
         For these reasons, the Court finds that Trump’s status as President of
  the United States does not exclude him from the requirements of the forum
  selection clause in Twitter’s Terms of Service.

     B. Twitter’s forum selection clause is mandatory and enforceable
         Twitter argues that the forum selection clause in its Terms of Services is
  mandatory and enforceable under the circumstances because “other courts to
  consider the question have found Twitter’s forum selection clause to be
  mandatory.” (Mot., ECF No. 41 at 14.) Twitter cites to several cases in which
  other federal courts have enforced Twitter’s forum selection clause. See Brittain
  v. Twitter Inc., No. CV-18-01714-PHX-DGC, 2019 WL 110967, at *2 (D. Ariz.
  Jan. 4, 2019); see also Wingo v. Twitter, Inc., No. 14-2643, 2014 WL 7013826,
  at *3 (W.D. Tenn. Dec. 12, 2014); Doshier v. Twitter, Inc., 417 F. Supp. 3d
  1171, 1180 (E.D. Ark. 2019). Additionally, Twitter contends that the forum
  selection clause, by its own terms, is mandatory. (Mot., ECF No. 15–17.)
         On the other hand, the Plaintiffs contend that Twitter’s forum selection
  clause is ambiguously worded, and that any ambiguity should be interpreted
  against the drafter. (Resp. in Opp’n, ECF No. 58 at 7–8.) The Plaintiffs argue
  that “Defendant’s forum selection clause contains terminology that suggests it
  could be either mandatory or permissive. Specifically, while it references
  exclusivity in that “all disputes . . . will be brought solely” in California, it then
  proceeds to state that parties to this clause “consent to personal jurisdiction
  and waive any objection” to actions brought in California.” (Id. at 8.) Moreover,
  the Plaintiffs aver that an ambiguity exists as a result of the use of “consent”
  because it implies that the clause is not mandatory. (Id.) The Plaintiffs further
  argue that the forum selection clause at issue is permissive, rather than
  mandatory and thus, does not command the forum for this litigation. (Id. at 9–
  10.) The Plaintiffs aver that this case is analogous to Travelcross, S.A. v.
  Learjet, Inc., No. 10-61842-CIV, 2011 WL 13214118, at *1 (S.D. Fla. Mar. 28,
  2011), where the court found that a forum selection clause was ambiguous.
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         In reply, Twitter argues that “[t]he provision on which Plaintiffs rely does
  not even address the forum in which a user may sue Twitter; it instead speaks
  to defenses that a user waives in a suit filed by Twitter against him.” (Reply,
  ECF No. 65 at 6.) “There is nothing ‘contradictory,’ about one provision
  mandating an exclusive forum and a second provision waiving defenses against
  being sued in that forum.” (Id.) Lastly, Twitter distinguishes Travelcross
  because that case was “based specifically on the fact that the clause at issue
  there did not include the type of mandatory and exclusive limitations on where
  suits will be brought, that Twitter’s clause does include.” (Id.)
         After considering the parties’ arguments and reviewing the relevant legal
  authorities, the Court finds that Twitter’s forum selection clause is mandatory,
  not permissive. Indeed, the clause states “All disputes related to these Terms or
  the Services will be brought solely in the federal or state courts located in San
  Francisco County, California, United States.” (2021 Twitter Terms of Service,
  ECF No. 41–2; 2009–2020 Twitter Terms of Service, ECF No. 58–1.) The use of
  “all” and “solely” clearly demonstrate the forum selection clause is mandatory.
  Landau v. Jaffa, No. 18-60772-CIV, 2018 WL 4778426, at *3 (S.D. Fla. July 19,
  2018) (Seltzer, J.) (determining forum selection clause was enforceable and
  mandatory because it required that the parties “resolve all disputes within the
  sole jurisdiction of the courts of the State of Utah.”) (emphasis added); Margolis
  v. Warner Chilcott (US), LLC, No. 16-23891-CIV, 2017 WL 9324774, at *3 (S.D.
  Fla. June 14, 2017) (Torres, MJ.) (finding forum selection clause was
  enforceable and mandatory because it stated, “Employer and Employee consent
  to the sole jurisdiction of the federal and state courts of New Jersey.”)
  (emphasis added). Additionally, the use of the word “consent” is not dispositive
  considering the mandatory language employed. Margolis, 2017 WL 9324774, at
  *3.
         Moreover, the Court finds that the Plaintiffs’ reliance on Travelcross is
  misplaced. There, the forum selection clause stated, “the courts of Kansas shall
  have exclusive jurisdiction to hear and determine all claims, disputes, actions
  or suits which may arise hereunder.” Travelcross, 2011 WL 13214118, at *2.
  The court explained that “jurisdiction is not the same as venue,” and found
  that the “‘exclusive jurisdiction’ language does not mandate venue in Kansas.”
  (Id.) Next, the court found that the next sentence— “Travelcross expressly
  consents to jurisdiction and venue in the state and federal courts of Kansas for
  any claims or disputes arising hereunder”—is not apparently mandatory. Id.
  The court reasoned that the sentence did not includes words like “shall,” or
  “only.” Id. Here, Twitter has used words like “solely” and included “all
  disputes.” See YouTube, No. 21-cv-22445-KMM, ECF No. 70 at 13 (finding
  forum selection clause was mandatory and enforceable and distinguishing
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  Travelcross because “[i]n this case there is no cause for uncertainty because
  the forum selection clause states that all claims “will be litigated exclusively” in
  California courts.”). In their surreply, the Plaintiffs attempt to distinguish
  YouTube by arguing that unlike the clause in that case, Twitter’s forum
  selection clause exempts federal government officials and because Trump’s
  account was suspended while he was President he is not bound by the clause.
  (Surreply, ECF No. 75 at 3–4.) This argument has already been rejected by the
  Court.
         Lastly, the Court notes that the Plaintiffs do not attempt to distinguish
  the cases relied on by Twitter in which other federal courts found its forum
  selection clause mandatory and enforceable.

     C. Twitter’s forum selection clause encompasses the Plaintiffs’ claims
          Twitter argues that the language of the forum selection clause includes
  the Plaintiffs’ claims because the clause requires that “all disputes related to
  [Twitter’s] Terms or the Services” to be litigated in California.” (Mot., ECF No.
  41 at 15.) This clause encompasses Plaintiffs’ claims because they relate to
  Plaintiffs’ use of the Twitter platform and to Twitter’s enforcement of its terms.
  (Id.)
          In response, the Plaintiffs argue that the claims asserted in the amended
  complaint do not arise within the scope of the forum selection clause. (Resp., in
  Opp’n, ECF No. 58 at 10–12.) The Plaintiffs dispute that their claims are based
  on the access and use of Twitter’s services because Plaintiffs FDUPTA claims
  relate to Twitter’s deceptive practices towards all current and prospective users
  in Florida. (Id. at 11.) (citing Management Computer Controls, Inc. v. Charles
  Perry Constr., Inc., 743 So. 2d 627 (Fla. 1st DCA 1999)). Additionally, the
  Plaintiffs argue that public policy weighs in favor of finding that the FDUPTA
  claims do not arise out of the agreement between the parties and that the
  forum selection clause does not apply. (Id. at 12.)
          In reply, Twitter argues that its forum selection clause “is not so limited;
  as noted, it governs all disputes ‘related to’ either the ‘Terms’ or Twitter’s
  ‘Services’—including its platform—in any way.” (Reply, ECF No. 65 at 11.)
  Additionally, the Plaintiffs’ Florida statutory claims “are inextricably linked to
  the [Twitter Terms]” and are therefore “covered by the … clause.” (Id.) (citing
  YouTube, No. 21-cv-22445-KMM, ECF No. 70 at 19.
          The Court finds that the application of the forum selection clause in this
  litigation, including the Plaintiffs’ FDUPTA claims, does not contravene public
  policy. See Gordon v. Sandals Resorts Int’l, Ltd., 418 F. Supp. 3d 1132, 1139
  (S.D. Fla. 2019), appeal dismissed sub nom. Gordon v. Sandals Resorts Int’l,
  Ltd, No. 19-14869-GG, 2020 WL 3042742 (11th Cir. Apr. 1, 2020) (noting that
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   “Florida has a muddled public policy regarding whether a forum selection
   clause should be enforced against a plaintiff bringing a [FDUPTA] claim,” and
   “declin[ing] to find that the enforcement of the forum selection clause would
   contravene Florida public policy.”) (Scola, J.); see also McCoy v. Sandals
   Resorts Int’l, Ltd., No. 19-CV-22462, 2019 WL 6130444, at *10 (S.D. Fla. Nov.
   19, 2019) (Bloom, J.), appeal dismissed sub nom. Gordon v. Sandals Resorts
   Int’l, Ltd, No. 19-14869-GG, 2020 WL 3260707 (11th Cir. Apr. 1, 2020)
   (“Therefore, as in Gordon, the Court declines to find that enforcement of the
   forum selection clause at issue here would contravene Florida's public policy.);
   YouTube, No. 21-cv-22445-KMM, ECF No. 70 at 16.
           Next, the Court must determine whether the FDUTPA claims in the
   amended complaint arise under the terms of the forum selection clause. For
   the reasons discussed below, the Court finds that the forum selection clause
   applies to the Plaintiffs’ FDUTPA claims.
           Although the Plaintiffs argue that their claims do not arise under the
   forum selection clause and instead stem from the deceptive practices
   prohibited by FDUTPA, a review of the amended complaint leads the Court to a
   different conclusion. In counts three and four, the Plaintiffs bring claims for
   violations of FDUTPA. Each count challenges Twitter’s application of its
   policies, rules, standards, which serve to regulate User content. (Am. Compl.,
   ECF No. 21 at ¶¶ 204, 205, 224, 225.) Indeed, at the heart of the Plaintiffs’
   FDUTPA claims is that Twitter was deceptive in its “inconsistent application of
   their standards in banning the Plaintiff and the Putative Class Members.” (Id.
   at ¶ 212.) Accordingly, the Court rejects the Plaintiffs’ argument that their
   FDUTPA claims are independent from any agreement between the Plaintiffs and
   the Defendants. “To the contrary, the FDUTPA claims are inextricably linked to
   the aforementioned provisions of the [Terms of Service], based on the
   allegations included in the Amended Complaint.” YouTube, No. 21-cv-22445-
   KMM, ECF No. 70 at 19.
           In their surreply, the Plaintiffs argue that YouTube is inapplicable
   because the Court failed to consider the application of Florida’s Social Media
   Platforms Act (“SMPA”), which creates a private cause of action against Social
   Medial Platforms that fail to consistently apply their standards for content
   moderation.” (Surreply, ECF No. 75 at 1–2.) However, the complaint does not
   separate its FDUTPA claims from the conclusory allegations that the
   Defendants violated SMPA. (Am. Compl., ECF No. 21 at ¶ 232.) Nor do the
   Plaintiffs explain what remedies they are entitled to under the SMPA that are
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   different from FDUTPA or that would be unavailable in California. 1
          For these reasons, the Court finds that the broad language used in
   Twitter’s forum selection clause encompasses the Plaintiffs’ claims. See Loomer
   v. Facebook, Inc., No. 19-CV-80893, 2020 WL 2926357, at *3 (S.D. Fla. Apr. 13,
   2020) (Smith, J.) (recognizing that a forum selection clause that applies to “any
   claim, cause of action, or dispute you have against us that arises out of or
   relates to these Terms or the Facebook Products” is broad enough to
   encompass claims related to deactivation of Facebook accounts); see also
   YouTube, No. 21-cv-22445-KMM, ECF No. 70 at 19.

      D. Public interest does not compel that the Court retain jurisdiction
          Having found that the parties’ agreement contains a valid forum selection
   clause, the burden now shifts to the Plaintiffs to show that transfer of this
   action is improper. McCoy, 2019 WL 6130444, at *4 (citing Stiles v. Bankers
   Healthcare Grp., Inc., 637 F. App’x 556, 562 (11th Cir. 2016)). The Plaintiffs
   bear a high burden in this regard. Atl. Marine, 571 U.S. at 64. The Court is
   limited to consider only public interest factors. McCoy, 2019 WL 6130444, at
   *4.
          The Plaintiffs offer five public interest considerations that weigh against a
   transfer: (1) the FDUTPA claims constitute a localized controversy that will
   affect how the Defendants engage in business in Florida; (2) several Plaintiffs,
   including Trump, are residents of Florida; (3) the bargaining positions between
   Twitter and its users weighs against a transfer, (4) Justice Clarence Thomas’s
   concerns regarding Section 230 in an opinion on a petition denying a writ of
   certiorari; and (5) recent case law weighs against a transfer of this action.
   (Resp. in Opp’n, ECF No. 58 at 13–17.)
          The Defendants argue that there is no rule against applying a forum
   selection clause to FDUTPA claims. (Reply, ECF No. 65 at 9.) Additionally, they
   contend that the Plaintiffs have failed to satisfy their high burden of showing
   that public interest factors overwhelmingly disfavor a transfer. (Id.) The Court
   agrees.
          First, the Court has already found that the Plaintiffs’ FDUTPA claims do
   not create a public interest reason for keeping this case in the Southern
   District of Florida. Second, this case does not present a localized controversy
   that warrants keeping the case in this district. “To the contrary, this case
   involves issues that are national in scope.” YouTube, No. 21-cv-22445-KMM,

   1 The Court notes that in a footnote in their surreply, the Plaintiffs contend that “[t]here is no

   California statute remotely similar to the SMPA,” however, this does not amount to an
   explanation of what remedies they would be deprived of if the case were transferred to the
   Northern District of California.
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   ECF No. 70 at 21. Indeed, while Trump and some other Plaintiffs are located in
   Florida, others are located throughout the country. (Am. Compl., ECF No. 21 at
   ¶¶ 18–24.) This putative class action is based on a nationwide class. (Id. at ¶
   234.) Third, Twitter is headquartered in California. (Id. at ¶ 25.) Fourth, the
   Plaintiffs invoke the First Amendment of the United States constitute to
   invalidate a federal statute. And Fifth, the Plaintiffs’ remaining arguments
   related to the parties’ bargaining power, Justice Clarence’s concerns, and the
   addictive nature of social media do not constitute the types of public interest
   considerations that weigh against applying a forum selection clause. YouTube,
   No. 21-cv-22445-KMM, ECF No. 70 at 21 (citing Atl. Marine, 571 U.S. at 64
   (“Public-interest factors may include ‘the administrative difficulties flowing
   from court congestion; the local interest in having localized controversies
   decided at home; [and] the interest in having the trial of a diversity case in a
   forum that is at home with the law.”)). These arguments do not share a nexus
   with Florida and instead raise general national issues related to social media
   platforms.
           Nor is the Court persuaded by the Plaintiffs’ reliance on Seaman v. Priv.
   Placement Cap. Notes II, LLC, No. 16-CV-00578-BAS-DHB, 2017 WL 1166336,
   at *1 (S.D. Cal. Mar. 29, 2017). That case stemmed from an enforcement action
   brought by the Securities and Exchange Commission, in which a receiver had
   been authorized to bring civil claims against the corporate defendants. The
   defendants moved to transfer the litigation to another district. The court denied
   the defendants’ request for a transfer, finding that the public interest weighed
   against the application of a forum selection clause. Seaman, 2017 WL
   1166336, at *7. The court explained that litigating in another forum would
   increase costs on a receiver that had been appointed, thereby decreasing the
   funds available to investors and creditors. Id. Additionally, many of the
   investors resided in the original district. Id. Moreover, the Court noted that the
   alleged fraud and resulting injuries had occurred in the original district. Id.
   Those circumstances are not present in this case. Here, almost half of the
   Plaintiffs reside outside of Florida and Twitter’s inconsistent application of its
   rules and policies occurs nationwide. Certainly, the Plaintiffs intend to bring a
   nationwide class. Accordingly, the Court finds that the Plaintiffs have failed to
   meet their stringent burden of “showing that public-interest factors
   overwhelmingly disfavor a transfer.” Atl. Marine,571 U.S. at 64.

      4. Conclusion
         For the reasons discussed above, the Court grants Twitter’s motion to
   transfer to the Northern District of California (ECF No. 41). The Clerk is
   directed to take all actions to transfer the case to the Northern District of
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   California.
         Done and ordered in chambers, at Miami, Florida, on October 26, 2021.



                                           _______________________________
                                           Robert N. Scola, Jr.
                                           United States District Judge
